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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA


IN RE:                                              CASE NO. 19-24331-BKC-JKO
                                                    CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

          MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR THE DEBTOR

                               EMERGENCY RELIEF REQUESTED

                                      BASIS FOR EXIGENCY

         The Debtor is attempting a mortgage modification on his homestead
         property and the appeal process is winding down.


         COMES NOW, the undersigned attorney, Michael H. Johnson, Esq. and hereby files this
Motion to Withdraw as Counsel of Record for the Debtor, RALPH LEVI SANDERS, JR., in the
above chapter 13 case, and respectfully moves this court for an Order removing Michael H.
Johnson, Esq. as counsel of record, and as grounds in support therefore would state as follows:
         1. That Michael H. Johnson, Esq. is presently counsel for the Debtor, RALPH LEVI
SANDERS, JR.
         2. Irreconcilable differences have recently arisen between the undersigned and the
Debtor.
         3. The Debtor is in the midst of multiple litigation and attempting a mortgage
modification of his homestead property.
         4. It is in the best interest of both attorney and the Debtor that this Court permits Michael
H. Johnson, Esq., to withdraw as attorney on behalf of the above-named Debtor, RALPH LEVI
SANDERS, JR.
         5. Any attorney’s fees currently paid into the Trustee will be distributed to Michael H.
Johnson, Esq. and any fees not yet earned will be distributed to Debtor’s future counsel.
         WHEREFORE, Michael H. Johnson, Esq. respectfully requests that this Court enter an
Order removing him as counsel of record for the Debtor, RALPH LEVI SANDERS, JR., and
direct that all future pleadings and correspondence be sent directly to the Debtor, RALPH LEVI
SANDERS, JR. at 561 SW 60th Ave., Plantation, FL 33317.
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Dated: June 6, 2020                   LAW OFFICES OF MICHAEL H. JOHNSON
                                      Attorneys for Debtor(s)
                                      3601 W. Commercial Blvd., Suite 31
                                      Ft. Lauderdale, FL 33309
                                      (954) 535-1131

                                      By:_/s/ Michael H. Johnson________________
                                         Michael H. Johnson
                                         Florida Bar No. 0149543

                                           I HEREBY CERTIFY THAT I AM ADMITTED TO THE BAR OF THE
                                           UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                                           DISTRICT OF FLORIDA AND I AM IN COMPLIANCE WITH THE
                                           ADDITIONAL QUALIFICATIONS TO PRACTICE IN THIS COURT
                                           SET FORTH IN LOCAL RULE 2090-1(A).
